              Case 6:19-bk-01933-CCJ         Doc 22     Filed 07/10/19      Page 1 of 2



                                        ORDERED.

     Dated: July 10, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

IN RE:                                                         Case No.: 6:19-bk-01933
                                                               Chapter 7

CAROL A HERTENSTEIN

Debtor(s)               /

            ORDER GRANTING TRUSTEE’S AMENDED MOTION TO SELL
          PROPERTY OF THE ESTATE SUBJECT TO ALL ENCUMBRANCES
         LIENS AND INTERESTS AND SOLICITATION OF GREATER OFFERS

         THIS CASE came before the court to consider Chapter 7 Trustee, Dennis Kennedy’s
(“Trustee”) Section 363(b) Amended Motion to Sell Property of the Estate Subject to All
Encumbrances Liens and Interests and Solicitation of Greater Offers Liens (the “Motion”) (Doc.
#15). The Motion was served upon all interested parties with the Local Rule 2002-4 negative
notice legend informing the parties of their opportunity to respond within 21 days of the date of
service; no party filed a response within the time permitted; and the Court therefore considers the
Motion unopposed. Accordingly, it is:
         ORDERED and ADJUDGED as follows:
         1.     The notice of the Motion and the hearing thereon is approved as proper and
adequate under the circumstances.
         2.     The Motion is GRANTED.
         3.     The Trustee is authorized to sell the real property located at:

         Lot 73, AUTUMN WOODS - UNIT THREE, according to the map or plat thereof as

                                          Page 1 of 2 Pages
            Case 6:19-bk-01933-CCJ         Doc 22     Filed 07/10/19     Page 2 of 2



       CRESCENT BAY LOT 68 PB 28 PGS 98-100 ORB 1577 PG 0381 according to the map
       or plat according to Public Records of Lake County, Florida
       aka 11024 Windchime Cir, Clermont, Florida (hereinafter the “Real Property”), subject to
       all liens, encumbrances or interests of any party and in accordance with the terms
       provided for in the Motion.

       4.      The Trustee is authorized to take any all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a deed conveying the interests of the Debtor(s) in the Real Property to the

ultimate purchaser.

       5.      The 14-day appeal period provided for under B.R.C.P. Rule 6004(h) be waived so

that the sale of the Real Property may close immediately upon the entry of an order granting the

instant motion.


Dennis Kennedy, Trustee, is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.




                                         Page 2 of 2 Pages
